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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                         (Alexandria Division)

In re:                                                   *

WW Contractors Inc.,                                     *           Case No: 18-12095-BFK

                        Debtor.                          *           Chapter 11

*            *          *      *       *      *          *           *      *       *      *       *


             DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY
      SAUL EWING ARNSTEIN & LEHR LLP AS SPECIAL LITIGATION COUNSEL

             WW Contractors Inc. (the “Debtor”) hereby files this Application for Authority to Employ

Saul Ewing Arnstein & Lehr LLP as Special Litigation Counsel (the “Application”), and in

support thereof states as follows:

                                           JURISDICTION AND VENUE

             1.         The Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. Venue lies properly in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is

a core proceeding pursuant to 28 U.S.C. § 157.

             2.         The relief sought pursuant to this application is based upon sections 327(a), 328,

330 and 1107 of 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”).

                                            THE CHAPTER 11 CASE

             3.         On June 12, 2018, the Debtor filed a voluntary petition for relief under Chapter 11

of the United States Code in the United States Bankruptcy Court for the District of Maryland,

Case No. 18-17927. On June 14, 2018, the Bankruptcy Case was transferred to the United States

Bankruptcy Court for the Eastern District of Virginia and was assigned Case No. 18-12095 (the

“Bankruptcy Case”).




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                      THE RETENTION OF SAUL EWING ARNSTEIN
              & LEHR LLP AS SPECIAL LITIGATION COUNSEL TO THE DEBTOR

             4.         Prior to the Petition Date, the Debtor commenced litigation against Sarai

Investment Corporation and related parties (collectively, the “Defendants”) in the Circuit Court

of Maryland for Baltimore City (the “Litigation”) in which the Debtor alleged numerous causes

of action against the Defendants. The Litigation was subsequently removed to the United States

District Court for the District of Maryland, case no. 1:18-cv-01341-CCB, where the Litigation is

currently pending. Pursuant to this Application, the Debtor seeks authority to retain Saul Ewing

Arnstein & Lehr LLP (“Saul Ewing”) to provide legal services in connection with the

prosecution of the pending Litigation on the terms and conditions set forth herein.1

             5.         The Debtor selected Saul Ewing because of the firm’s experience, knowledge and

familiarity with the issues presented in the Litigation. Toyja E. Kelley, a principal of Saul

Ewing, regularly represents businesses such as the Debtor in complex commercial disputes and is

well qualified to represent the Debtor in the Litigation. Saul Ewing will perform all legal

services required by the Debtor in the Litigation and will be compensated on an hourly basis at

the firm’s customary rates. Subject to the Court’s approval, Saul Ewing will charge the Debtor

for its professional services based on the following rates:

                               Partners - $360 - $975
                               Counsel - $350-675
                               Associates - $250 - $440
                               Paralegals - $90 - $350

Such compensation will be paid from the estate only after approval of this Court on proper

application therefore pursuant to 11 U.S.C. §§ 330 and 331.



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  Prior to the Petition Date, the Debtor had retained Christopher S. Young, Esquire and Heather K. Young of the
Business & Technology Law Group (“BTLG”) to represent the Debtor in the Litigation. The Debtor has decided to
terminate BTLG’s representation and wishes to retain Saul Ewing going forward.


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             6.         To the best of the Debtor’s knowledge, Saul Ewing has no connection with any

creditor, the Debtor (other than this representation) or any other party in interest or their

respective attorneys and accountants, the United States Trustee, or any person employed in the

office of the United States Trustee, except as set forth in the Verified Statement of Counsel to be

Employed by Debtor, which is attached hereto and incorporated herein.

             7.         To the best of the Debtor’s knowledge, Saul Ewing represents no interest adverse

to the Debtor or the estate.

             8.         The Litigation represents a valuable asset of the Debtor’s estate, and the Debtor

believes that continued prosecution of the Litigation will be in the best interests of the Debtor, its

creditors and the estate.

             9.         The Debtor submits that, pursuant to Local Bankruptcy Rule 9013-1, it will rely

solely on the facts presented herein, and no memorandum of law will accompany this

Application.

             WHEREFORE, the Debtor respectfully requests that this Court enter an order pursuant to

11 U.S.C. § 327 approving the Debtor’s employment of Saul Ewing Arnstein & Lehr LLP to

represent it in the Litigation.

Dated: July 13, 2018                                 WW Contractors Inc.


                                                            BY:     /s/ Warrren Wiggins
                                                                    Warren Wiggins, President


                                        CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of July, 2018, a copy of the foregoing pleading was
served electronically to those parties on the Court’s CM/ECF notice list.

                                                            /s/ Aryeh E. Stein
                                                            Aryeh E. Stein



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